Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 1 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 2 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 3 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 4 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 5 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 6 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 7 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 8 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 9 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 10 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 11 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 12 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 13 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 14 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 15 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 16 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 17 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 18 of 19
Case 1:09-cv-02024-LJO-BAM Document 48 Filed 06/24/09 Page 19 of 19
